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                               UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON


DANICA LOVE BROWN, individually and on behalf
of all others similarly situated,                                  3:15-cv-1370-MO
                                                        Case No.: ________________________
                           Plaintiff(s),
                                                        MOTION FOR LEAVE TO APPEAR
 v.                                                     PRO HAC VICE
STORED VALUE CARDS, INC. (d/b/a NUMI
FINANCIAL); and CENTRAL NATIONAL BANK
AND TRUST COMPANY, ENID, OKLAHOMA,
                           Defendant(s).


                 Daniel L. Marshall
        Attorney _________________________________ requests special admission pro hac
vice to the Bar of the United States District Court for the District of Oregon in the above-
captioned case for the purposes of representing the following party (or parties):
Danica Love Brown.
______________________________________________________________________________
        In support of this application, I certify that: 1) I am an active member in good standing
with the _____________
         Florida       State Bar; and 2) that I have read and am familiar with the Federal
Rules of Evidence, the Federal Rules of Civil and Criminal Procedure, the Local Rules of this
Court, and this Court's Statement of Professionalism.
        I understand that my admission to the Bar of the United States District Court for the
District of Oregon is solely for the purpose of litigating in the above matter and will be
terminated upon the conclusion of the matter.

         (1)      PERSONAL DATA:
                  Name: Marshall                     Daniel                        L.
                           (Last Name)              (First Name)                  (MI)         (Suffix)
                  Agency/firm affiliation: Human Rights Defense Center
                  Mailing address: P.O. Box 1151
                  City: Lake Worth                                        ___________ Zip: 33460-1151
                                                                   State:FL
                  Phone number: (561) 360-2523                     Fax number:
                  Business e-mail address: dmarshall@humanrightsdefensecenter.org




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         (2)      BAR ADMISSION INFORMATION:
                  (a)      State bar admission(s), date(s) of admission, and bar number(s):
                           Florida, November 25, 2002, 617210


                  (b)      Other federal comi admission(s) and date(s) of admission:
                           See attached.



         (3)      CERTIFICATION OF DISCIPLINARY ACTIONS:

            [!I   I am not now, nor have I ever been, subject to any disciplinaiy action by any
                  state or federal bai· association or subject to judicial sanctions.

            D     I am now or have been subject to disciplinaiy action by a state or federal bar
                  association or subject to judicial sanctions. (Attach letter of explanation.)

         (4)      CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
                  Pursuant to LR 83-3, I have professional liability insurance, or financial
                  responsibility equivalent to liability insurance, that meets the insurance
                  requirements of the Oregon State Bai· for attorneys practicing in this District,
                  and that will apply and remain in force for the duration of the case, including
                  any appeal proceedings.

         (5)      CM/ECF REGISTRATION:
                  I acknowledge that I will become a registered user of the Comi's case
                  management and electrnnic case filing system (CM/ECF) upon approval of this
                  application, and I consent to electronic service pursuant to Fed. R. Civ. P.
                  5(b)(2)(E) and the Local Rules of the District of Oregon.

Certification of Attorney Seeking Pro Hae Vice Admission: I have read and understand the
requirements of LR 83-3, and I ce1iify that the above infonnation is hue and co1Tect.


        DATED: 06/04/2020



                                                        s/ Daniel Marshall
                                                       (Signature)




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REQUIREMENT TO ASSOCIATE WITH LOCAL COUNSEL:

LR 83-3(a)(1) requires applicants for pro hac vice admission to associate with local counsel,
unless requesting a waiver of the requirement under LR 45-1.

To request a waiver of the requirement to associate with local counsel under LR 45-1, check the
following box:

        I seek admission for the limited purpose of filing a motion related to a subpoena that this
        Court did not issue. Pursuant to LR 45-1(b), I request a waiver of the LR 83-3(a)(1)
        requirement to associate with local counsel and therefore do not include a certification
        from local counsel with this application.

To associate with local counsel, provide the following information about local counsel, and
obtain the signature of local counsel.

Name: Glor                                      Megan                          E.
                        (Last Name)           (First Name)                    (MI)             (Suffix)
OSB number: 930178

Agency/firm affiliation: Megan E. Glor, Attorneys at Law

Mailing address: 707 NE Knott Street, Suite 101

City: Portland                                 State: OR          Zip:                     97212

Phone number: (503) 223-7400                   Fax number: (503) 751-2071

Business e-mail address: megan@meganglor.com

CERTIFICATION OF ASSOCIATE LOCAL COUNSEL:

I certify that I am a member in good standing of the bar of this Court, that I have read and
understand the requirements of LR 83-3, and that I will serve as designated local counsel in case
number 3:15-cv-1370-MO                .

           05/22/2020
DATED:                                        .



                                              (Signature of Local Counsel)




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